Case 2:22-cv-00319-TOR   ECF No. 89-19    filed 09/23/24   PageID.1406    Page 1
                                    of 29




                           Exhibit R




                                                                 Exhibit R Page 1
Case 2:22-cv-00319-TOR        ECF No. 89-19    filed 09/23/24   PageID.1407     Page 2
                                         of 29




                  Expert Report of Renée DiResta,
              Prepared for Defendant Washington State University in
          Eastern District of Washington Case No. 2:22-cv-00319-TOR
                           Nicholas Rolovich, plaintiff
                                        v.
                      Washington State University, defendant.




Dated: August 9 , 2024                                Signed:______________________
                                                                 Renée DiResta


Expert Report of Renée DiResta – Page 1
                                                                       Exhibit R Page 2
Case 2:22-cv-00319-TOR            ECF No. 89-19    filed 09/23/24            PageID.1408         Page 3
                                             of 29




                           BACKGROUND AND QUALIFICATIONS
       1.       From June 2019 until June 2024 I was the Technical Research Manager of the Stanford

Internet Observatory, a research center within Stanford University with a track that focused on

understanding how narratives spread and go viral on social media. I have a decade of experience

studying the narratives and online dynamics of the anti-vaccine movement specifically, including its

intersection with other conspiratorial communities.

       2.       From 2020-2023, I served on the Lancet Commission on Vaccine Refusal, Acceptance,

and Demand in the USA, which was formed to address the persistent and important threat to public

health in the USA posed by suboptimal uptake of some vaccines. I have prepared background reports

and research primers on vaccination narratives and social media that were used to inform the Sabin

Institute Vaccine Science and Policy Group, the Lancet and Financial Times joint commission on

global health futures, Science for Global Policy, and many other think tanks and policy projects. I

have published multiple academic papers on the dynamics of vaccine hesitancy and anti-vaccine

narratives on social media in journals including The Lancet and Annals of Internal Medicine. I have a

forthcoming contributed book chapter on vaccine narratives in an American Public Health

Association (APHA) volume on COVID-19.

       3.       During the COVID-19 vaccine rollout, I was one of the leaders of an inter-institutional

partnership called the Virality Project that published weekly briefings to enable public health officials

and frontline physicians to understand and respond to rumors, misinformation, and emergent vaccine

hesitancy narratives related to the COVID-19 vaccines. In this capacity I participated in briefings for

the Office of the Surgeon General on the dynamics of viral COVID-19 vaccine rumors and

misinformation.

       4.       A copy of my CV, which contains additional information regarding my qualifications

and a list of publications authored or co-authored, is attached as Attachment A.


Expert Report of Renée DiResta – Page 2
                                                                                      Exhibit R Page 3
Case 2:22-cv-00319-TOR             ECF No. 89-19    filed 09/23/24              PageID.1409     Page 4
                                              of 29


        5.      I am being compensated $250 per hour for my expert work on this matter. I have not

testified as an expert at trial or by deposition in any case in the past four years.

                                 FACTS OR DATA CONSIDERED
        6.      In addition to the research, studies, and news reports cited in this report and

knowledge I have gained through my extensive work researching and writing about vaccine hesitancy,

anti-vaccine conspiracy theories, and the QAnon movement, I considered the following materials in

forming the opinions set forth in this report:

                   Approximately 460 documents that I understand were produced by Mr. Rolovich
                    in this litigation and reference the term “vaccine”, “vacc*”, and/or “vax*”, in
                    addition to documents referencing the term “abort*”, or “fetal”, or “cells”.

                 The following timeline of relevant dates, which was prepared by counsel:

                         1/14/2020:  Rolovich hired as head coach of
                                     WSU’s football team.
                         4/21/2021: Rolovich meets with WSU professor,
                                     Dr. Guy Palmer, regarding COVID-
                                     19 vaccines and side effects.
                         4/28/2021: WSU announces vaccine requirement.
                         5/24/2021: Rolovich meets with WSU’s Athletic
                                     Director, Pat Chun, to discuss
                                     vaccine. According to Rolovich, Mr.
                                     Chun “claimed that he was worried
                                     about Mr. Rolovich’s mental health
                                     and accused him of having extreme
                                     views regarding many issues.”
                         7/21/2021: Rolovich tweets that he will not
                                     receive COVID-19 vaccine for
                                     “reasons which will remain private.”
                         7/27/2021: Rolovich virtually attends Pac-12
                                     media day, as participants were
                                     required to be vaccinated in order to
                                     attend in-person.
                         8/9/2021:   Washington Governor Jay Inslee
                                     issues Proclamation 12-14, requiring
                                     state workers to be vaccinated against
                                     COVID-19.
                         8/19/2021: Rolovich first informs Athletics
                                     Department that he intends to seek
                                     religious exemption.
                         10/04/2021: Rolovich submits application for
                                     religious exemption.
                         10/18/2021: Rolovich notified that his request for
                                     exemption and accommodation was
                                     not approved.


Expert Report of Renée DiResta – Page 3
                                                                                       Exhibit R Page 4
Case 2:22-cv-00319-TOR                  ECF No. 89-19    filed 09/23/24                  PageID.1410           Page 5
                                                   of 29


                             11/12/2021: Notice of termination issued to
                                         Rolovich.
                             11/26/2021: Rolovich appeals the termination
                                         decision.
                             12/6/2021: Rolovich’s appeal is denied.
                             11/14/2022: Rolovich files original complaint in
                                         this litigation.

                     Second Amended Complaint of Nicholas Rolovich

               EARLY EXAMPLES OF ANTI-VACCINE CONSPIRACY THEORIES
         7.         For as long as there have been vaccines, there have been anti-vaccine narratives. Some

of the earliest anti-vaccine narratives were religious. For example, in the early 1800s, Dr. Edward

Jenner created a mechanism for inoculating against smallpox using cowpox.1 At the time, as disease

was often believed to be a punishment from God, some religious leaders assailed smallpox variolation

as an effort to avoid a deserved fate.2 Others later expressed concern that variolation introduced

material from a cow into a human body – a violation of bodily purity or sanctity.3

         8.         In 1853, the United Kingdom passed the Vaccination Act of 1853, making smallpox

vaccination compulsory for children; by the 1860s, two-thirds of babies were vaccinated and smallpox

death rates declined significantly.4 Nonetheless, religious adherents argued that it was “unChristian,”

while more secular complaints framed it as political tyranny against the working class.5 Anti-vaccine

arguments based on concerns about safety additionally became prominent, and formal “anti-

vaccination leagues” were established by those who wished to resist vaccines, and to evangelize against



           1 Stefan Riedel, “Edward Jenner and the History of Smallpox and Vaccination,” Baylor University Medical Center
Proceedings, 18(1), 21–25 (2005), https://doi.org/10.1080/08998280.2005.11928028.
          2 Per-Olof Hasselgren, "The Smallpox Epidemics in America in the 1700s and the Role of Surgeons: Lessons to
Be Learned During the Global Outbreak of COVID-19," World Journal of Surgery 44, no. 9 (2020): 2838-2839,
https://link.springer.com/article/10.1007%2Fs00268-020-05670-4.
         3    College of Physicians of Philadelphia, History of Vaccines, “History of Anti-Vaccination Movements,”
https://www.historyofvaccines.org/content/articles/history-anti-vaccination-movements.
         4      The       Health     Foundation,     “United       Kingdom            Vaccination       Act       1853”,
https://navigator.health.org.uk/theme/united-kingdom-vaccination-act-1853.
         5 Nadja Durbach, “‘They Might as Well Brand Us’: Working-Class Resistance to Compulsory Vaccination in
Victorian England,” Social History of Medicine 13, no. 1 (2000): 45–63, https://doi.org/10.1093/shm/13.1.45.



Expert Report of Renée DiResta – Page 4
                                                                                                    Exhibit R Page 5
Case 2:22-cv-00319-TOR                  ECF No. 89-19    filed 09/23/24                  PageID.1411            Page 6
                                                   of 29


them. According to letters that were sent to the editors of medical journals around the time the

Compulsory Vaccination Act was passed, the anti-vaccination leagues disputed the safety and efficacy

of vaccines; created conspiratorial allegations about the mechanisms as well as developers of vaccines;

alleged that other diseases, including sexually transmitted diseases, were side effects of being

vaccinated; and challenged the validity of mandates requiring immunization during epidemics.6

              ANTI-VACCINE CONSPIRACY THEORIES IN THE 21st CENTURY

         9.       The prevalence of themes and narratives skeptical of, or outright hostile to, vaccines

waxes and wanes. However, highly similar narratives and themes persist over time, often regardless of

the specific diseases they mitigate, because these narratives voice real concern and fears.

       10.        Epidemiologists and public health experts who study vaccine hesitancy have

extensively categorized the prevalent vaccine rejection and hesitancy themes of the last 20 years, and

how they manifest on social media, drawing on data from anti-vaccine websites and online

communities.7 I have studied that literature closely, including the quantitative assessments of prevalent

vaccine rejection and hesitancy themes, and have built upon it through my own work researching and

writing about vaccine hesitancy and anti-vaccine conspiracy theories. Summarizing across that




         6 Stanley Williamson, “Anti-vaccination Leagues,” Archives of Disease in Childhood 59, no. 12 (1984): 1195–96,
https://doi.org/10.1136/adc.59.12.1195.
          7 Laeth Nasir, “Reconnoitering the antivaccination web sites: news from the front,” J Fam Pract 49(8):731-3
(August 2000), https://pubmed.ncbi.nlm.nih.gov/10947140/; Robert M. Wolfe, Lisa K. Sharp, and Martin S. Lipsky,
“Content and Design Attributes of Antivaccination Web Sites,” JAMA 287, no. 24 (June 26, 2002):
3245, https://doi.org/10.1001/jama.287.24.3245; P. Davies, S. Chapman, and J. Leask, “Antivaccination
Activists on the World Wide Web,” Archives of Disease in Childhood 87, no. 1 (2002): 22–
25, https://doi.org/10.1136/adc.87.1.22; Anna Kata, “A Postmodern Pandora’s Box: Anti-vaccination
Misinformation       on      the      Internet,” Vaccine 28,     no.     7     (February     17,     2010):      1709-16,
https://doi.org/10.1016/j.vaccine.2009.12.022; Tara C. Smith, “Vaccine Rejection and Hesitancy: A Review and Call to
Action,” Open Forum Infectious Diseases 4, no. 3 (2017), https://doi.org/10.1093/ofid/ofx146; Amelia Jamison, David A.
Broniatowski, Michael C. Smith, Kajal S. Parikh, Adeena Malik, Mark Dredze, and Sandra C. Quinn, “Adapting and
Extending a Typology to Identify Vaccine Misinformation on Twitter,” American Journal of Public Health 110, no. S3 (2020):
S331–39, https://doi.org/10.2105/ajph.2020.305940; The Virality Project, “Memes, Magnets, and Microchips:
Narrative     dynamics     around       COVID-19        vaccines,”    Feb.    2022,    Stanford   Digital     Repository,
https://doi.org/10.25740/mx395xj8490; Angelo Fasce, Philipp Schmid, Dawn L. Holford, Luke Bates, Iryna Gurevch,
and Stephan Lewandowsky, “A Taxonomy of Anti-vaccination Arguments From a Systematic Literature Review and Text
Modelling,” Nature Human Behaviour 7, no. 9 (July 17, 2023): 1462–80, https://doi.org/10.1038/s41562-023-01644-3.




Expert Report of Renée DiResta – Page 5
                                                                                                    Exhibit R Page 6
Case 2:22-cv-00319-TOR            ECF No. 89-19    filed 09/23/24            PageID.1412         Page 7
                                             of 29


research, the most common, longstanding, and prevalent themes in vaccine rejection and hesitancy

include:

            ● Safety: narratives alleging that vaccines are unsafe (e.g., that they cause sudden infant
              death syndrome, autism, or seizures); are under-tested or untested, either individually
              or in aggregate; contain toxic ingredients; cause other ailments (such as cancer); cause
              harm; weaken the immune system.

            ● Efficacy: narratives related to the idea that vaccines do not work, that they are less
              effective than treatments or alternative medicines (including homeopathy), or that they
              offer no more protection than doing nothing at all.

            ● Religiosity: narratives argue that vaccines contain materials or are party to moral acts
              that are objectionable on religious grounds (such as cell culture systems originally
              obtained via abortion, or porcine ingredients); that the human body is perfect as God
              made it (rendering vaccines unnecessary or against God’s laws); that preventing illness
              or death interferes with God’s will.

            ● Liberty: narratives argue that no one, including the government or an employer,
              should be able to tell people what to put in their bodies, that parents should be the
              sole decision maker for children (vis a vis school requirements), and that individuals
              have the right to unqualified “health freedom” or “medical choice.”

            ● Distrust of industry or scientific processes: narratives allege that vaccines are
              produced by profit-motivated pharmaceutical companies, often leveraging authentic
              instances of past abuses in which companies have concealed harm in pursuit of profit;
              that medical journals are “bought”; that scientists or experts conceal harms.

            ● Conspiracy: narratives claim to reveal malicious intent underlying vaccine policies or
              products, reflecting broad distrust in authority and expertise; narratives impute malign
              motives or nefarious actions to individuals, companies, or governments associated
              with vaccination.

      11.       Regarding the safety and efficacy themes, those themes were particularly prevalent

during the COVID-19 pandemic, as the public followed the story of COVID-19 vaccine development

in real time. Many other vaccines, particularly those for childhood illnesses, have decades of safety and

efficacy data available. Therefore, hesitancy due to safety and efficacy reasons in the COVID-19

context was at least partially a function of recency; fear of adverse events featured prominently in




Expert Report of Renée DiResta – Page 6
                                                                                      Exhibit R Page 7
Case 2:22-cv-00319-TOR                   ECF No. 89-19    filed 09/23/24                    PageID.1413            Page 8
                                                    of 29


surveys, and participants expressed a desire to “wait and see”.8 However, safety themes have long

been prevalent on most anti-vaccine websites, even in discussions of well-established and safe

vaccines.

Some argue the existence of “hot lots” (specific dangerous batches), express concern about

purportedly dangerous ingredients, or extrapolate from stories of individual reported bad experiences

to reach sweeping conclusions; these arguments often do not dissipate even after thorough scientific

investigations and research has been conducted.9

       12.         Regarding the conspiracy theme of vaccine rejection and hesitancy, conspiracy theories

related to vaccines often draw on material found in other themes, but then layer on an element of

deliberate malice or concealed action on the part of leaders or experts.10 For example, safety concerns

about vaccine risks are made conspiratorial through allegations that the government is actively hiding

evidence of vaccine dangers.11 Toxicity claims, which often focus on vaccine ingredients, may allege that

vaccines contain secret microchips, or are designed to purposefully execute a “depopulation agenda”.12

Other longstanding vaccine conspiracy theories allege that vaccine advocates are paid off by “big

pharma,” or that doctors who criticize vaccines are silenced or murdered.13 High-profile figures like

George Soros and Bill Gates frequently appear in these narratives; the specifics of their purported

         8 Ashley Kirzinger, Audrey Kearney, Liz Hamel, and Mollyann Brodie, “KFF/The Washington Post Frontline
Health Care Workers Survey - Vaccine Intentions,” Apr. 6, 2021, https://www.kff.org/report-section/kff-washington-
post-frontline-health-care-workers-survey-vaccine-intentions/.
         9 Eve Dubé, Caroline Laberge, Maryse Guay, Paul Bramadat, Réal Roy, and Julie A. Bettinger, “Vaccine
Hesitancy,” Human Vaccines & Immunotherapeutics 9, no. 8 (Aug. 8, 2013): 1763–73, https://doi.org/10.4161/hv.24657.
          10 This is common to conspiracy theorizing in general. Conspiracy theories take real events, or claims with a grain
of truth, and attempt to explain them by asserting a connection to powerful or sinister figures who are secretly colluding
in service to a malevolent goal. See, for example, Roland Imhoff et al., “Conspiracy Mentality and Political Orientation
Across 26 Countries,” Nature Human Behaviour 6, no. 3 (Jan. 17, 2022): 392–403, https://doi.org/10.1038/s41562-021-
01258-7.
         11 Anna Kata, “A Postmodern Pandora’s Box: Anti-vaccination Misinformation on the Internet,” Vaccine 28, no.
7 (Feb. 17, 2010): 1709-16, https://doi.org/10.1016/j.vaccine.2009.12.022.
        12 Jack Goodman and Flora Carmichael, “Coronavirus: Bill Gates ‘Microchip’ Conspiracy Theory and Other
Vaccine Claims Fact-checked,” BBC, May 29, 2020, https://www.bbc.com/news/52847648.
         13 Flora Teoh, “Conspiracy Theory About the Deaths of Alternative Medicine Practitioners Ignores Evidence,
Misrepresents      Certain      Doctors     -    Health      Feedback,”        Health     Feedback,      Aug.     23,
2023, https://healthfeedback.org/claimreview/conspiracy-theory-deaths-alternative-medicine-practitioners-ignores-
evidence-misrepresents-certain-doctors/.



Expert Report of Renée DiResta – Page 7
                                                                                                       Exhibit R Page 8
Case 2:22-cv-00319-TOR                ECF No. 89-19    filed 09/23/24                  PageID.1414           Page 9
                                                 of 29


malign activity shifts to account for the specific details of a given outbreak.14 Conspiratorial

predispositions and belief in COVID-19 conspiracy theories were found to be predictors of vaccine

hesitancy during the COVID-19 pandemic.15 Conspiracy content remains one of the most prevalent

vaccine conversation themes on social media.16

       13.        Regarding the religiosity theme, although religious concerns about vaccination do

exist, none of the world’s major religions are opposed to vaccines.17 The Catholic Church, for example,

has extensively debated the ethics of using vaccines derived from human cell lines or fetal material

obtained from an abortion, suggesting that vaccines without them be used where possible, but it

remains pro-vaccine and Catholic religious leaders have consistently encouraged vaccination, including

during the COVID-19 pandemic.18 Other concerns related to vaccines interrupting “divine will”

(fatalism) or impurity (concerns that being vaccinated will render the recipient impure) appear in some

Christian Science, Jehovah’s Witnesses, anthroposophy, and faith-healing practices but are not widely




          14 Alex Mahadevan, “Bill Gates and George Soros Are Targets of Another COVID-19 Conspiracy Theory,”
Poynter, June 1, 2020, https://www.poynter.org/fact-checking/2020/bill-gates-and-george-soros-the-target-of-another-
covid-19-conspiracy-theory/.
         15 Christina E. Farhart, Ella Douglas-Durham, Krissy Lunz Trujillo, and Joseph A. Vitriol, “Vax Attacks: How
Conspiracy Theory Belief Undermines Vaccine Support,” Progress in Molecular Biology and Translational Science, Volume
188,Issue 1, (2022): 135–69, https://doi.org/10.1016/bs.pmbts.2021.11.001; Joseph A. Vitriol and Jessecae K.
Marsh, “A Pandemic of Misbelief: How Beliefs Promote or Undermine COVID-19 Mitigation,” Frontiers in Political Science
3 (June 17, 2021), https://doi.org/10.3389/fpos.2021.648082; Daniel Allington, Siobhan McAndrew, Vivienne
Moxham-Hall, and Bobby Duffy, “Coronavirus Conspiracy Suspicions, General Vaccine Attitudes, Trust and Coronavirus
Information Source as Predictors of Vaccine Hesitancy among UK Residents during the COVID-19
Pandemic,” Psychological Medicine 53, no. 1 (2023): 236–47. https://doi.org/10.1017/S0033291721001434.
           16 Amelia Jamison, David A. Broniatowski, Michael C. Smith, Kajal S. Parikh, Adeena Malik, Mark Dredze, and
Sandra C. Quinn, “Adapting and Extending a Typology to Identify Vaccine Misinformation on Twitter,” American Journal
of Public Health 110, no. S3 (Oct. 2020): S331–39, https://doi.org/10.2105/ajph.2020.305940.
        17 John D. Grabenstein, “What the World’s Religions Teach, Applied to Vaccines and Immune
Globulins,” Vaccine 31, no. 16 (April 12, 2013): 2011–23, https://doi.org/10.1016/j.vaccine.2013.02.026.
         18 “Pontifical Academy for Life Statement: Moral Reflections on Vaccines Prepared From Cells Derived From
Aborted       Human        Foetuses,” The     Linacre    Quarterly 86,    no.     2–3     (May      2019):
182–87, https://doi.org/10.1177/0024363919855896; United States Conference of Catholic Bishops, “Pope Francis and
Bishops From the Americas Promote COVID-19 Vaccine,” 2021, https://www.usccb.org/resources/pope-francis-
and-bishops-americas-promote-covid-19-vaccine.



Expert Report of Renée DiResta – Page 8
                                                                                                 Exhibit R Page 9
Case 2:22-cv-00319-TOR                   ECF No. 89-19     filed 09/23/24                  PageID.1415           Page
                                                  10 of 29


popular.19 In the case of COVID-19 vaccines, neither Christian Scientists nor Jehovah’s Witnesses

organizationally opposed COVID-19 vaccination.20

       14.        Notably, within the United States, religion intersects with vaccination policy through

exemption options to vaccination requirements in some states. Generally speaking, there are three

potential types of exemptions from compulsory vaccination, including for schoolchildren: (1) medical,

which are given by physicians in cases in which there is a contraindication that makes being vaccinated

dangerous or risky; (2) personal belief, or “philosophical objections”; and (3) religious exemptions,

which may require that the individual seeking the exemption provide evidence of a sincerely-held

religious belief contrary to vaccination.21 In an effort to demonstrate sincere beliefs, petitioners

sometimes submit a supportive letter from clergy.22

       15.        Numerous peer-reviewed academic studies and papers document and discuss

dynamics by which religious objections to vaccines may be leveraged to mask underlying concerns

about vaccine safety, trust, and personal choice in an effort to avoid vaccine mandates.23 For example,

in one study of “frameworks through which vaccine decisions were made,” authors reported that

Orthodox Jewish parents indicated that they were more worried about vaccine safety and other secular


         19 Hanne Amanda Trangerud, “‘What Is the Problem With Vaccines?’ a Typology of Religious Vaccine
Skepticism,” Vaccine X 14 (Aug. 2023): 100349, https://doi.org/10.1016/j.jvacx.2023.100349; Eric Wombwell,Mary T.
Fangman, Alannah K. Koder, and David L. Spero, “Religious Barriers to Measles Vaccination,” Journal of
Community Health 40, no. 3 (Oct. 16, 2014): 597–604, https://doi.org/10.1007/s10900-014-9956-1.
         20 Jehovah’s Witnesses, “Are Jehovah’s Witnesses Opposed to Vaccination? Or Do They Get Vaccines?,”
https://www.jw.org/en/jehovahs-witnesses/faq/jw-vaccines-immunization/; Maggie Phillips, “Christian Scientists
Consider          the         COVID-19           Vaccine,”        Tablet,          Nov.          19,
2021,https://www.tabletmag.com/sections/community/articles/christian-scientists-consider-covid-19-vaccinations.
         21 National Conference of State Legislatures, “States with Religious and Philosophical Exemptions from School
Immunization Requirements,” Aug. 5, 2024, https://www.ncsl.org/health/states-with-religious-and-philosophical-
exemptions-from-school-immunization-requirements.
          22 Requirements for proving sincerity vary by locale; for examples of such letters in New York City submitted in
relation to the COVID-19 vaccination requirements, see Reuven Blau, “COVID Vaccine Religious Exemption Letters
Show Battle of Faith Vs. Science,” THE CITY - NYC News, Dec. 1, 2021,
https://www.thecity.nyc/2021/12/01/covid-vaccine-religious-exemption-letters-faith-vs-science/.
         23 Gordana Pelčić, Silvana Karačić, Galina L. Mikirtichan, Olga I. Kubar, Frank J. Leavitt, Michael Cheng-tek
Tai, Naoki Morishita, Suzana Vuletić, and Luka Tomašević, “Religious Exception for Vaccination or
Religious Excuses for Avoiding Vaccination,” Croatian Medical Journal 57, no. 5 (Oct. 2016):
516–21, https://doi.org/10.3325/cmj.2016.57.516.



Expert Report of Renée DiResta – Page 9
                                                                                                  Exhibit R Page 10
Case 2:22-cv-00319-TOR                   ECF No. 89-19     filed 09/23/24                  PageID.1416            Page
                                                  11 of 29


vaccine hesitancy concerns, though “religious frameworks were mobilized” to justify exemption

seeking; concerns about safety were at the root of purportedly religious requests. Indeed, some

participants noted that if a Rabbi were to tell them “you have to vaccinate,” they would not follow the

religious guidance – and so, to avoid being put in this position, they might seek out a rabbi who was

likely to be open-minded about their existing views.24 Broader studies into other aspects of healthcare

additionally note that although religious authorities are perceived as influential partners in public health

strategies (as they can be a source of information and ethical guidance for devotees) their followers

also frequently choose to act independently of religious guidance and in accordance with the outcome

they are looking for.25

       16.        Other research, including into religious exemptions for school vaccination

requirements and professional influenza vaccine requirements for healthcare providers, discusses

indications that “‘religion’ often serves as [a] cover for anti-vaccine sentiments that have little to do

with any organized faith’s official teachings”26 and that some individuals deceitfully exploit religious

exemptions and may even encourage others to pursue them simply because the law allows it,

independent of sincere religious conviction.27 Safety-based concerns and fears underpinning claims of

religious exemption blur the distinction between religious and secular opposition to vaccines. Media

coverage of school vaccine exemption disputes has additionally highlighted individuals who start




         24 Ben Kasstan, “‘If a Rabbi Did Say “You Have to Vaccinate,” We Wouldn’t’: Unveiling the Secular Logics of
Religious Exemption and Opposition to Vaccination,” Social Science & Medicine 280 (July 2021):
114052, https://doi.org/10.1016/j.socscimed.2021.114052.
        25   Lea Taragin‐Zeller, “A Rabbi of One’s Own? Navigating Religious Authority and Ethical Freedom in
Everyday Judaism,” American Anthropologist 123 (June 2021) Wiley: 833-45, https://doi:10.1111/aman.13603.
       26 Quote is from Kasstan (citation 24), extended source is to E.J. Sobo, “Vaccination: against my religion?” In
Bloomsbury Religion in North America, edited by Bielo, J., Green, W.S., Pinn, A. London: Bloomsbury.
         27 Dorit Reiss, “Thou Shalt Not Take the Name of the Lord Thy God in Vain: Use and Abuse of Religious
Exemptions        from       School      Immunization        Requirements,”     65   Hastings   L.J.  1551    (2013-2014),
https://repository.uclawsf.edu/hastings_law_journal/vol65/iss6/5/; see also Jennifer A. Reich, “‘I Have to Write a
Statement of Moral Conviction. Can Anyone Help?’: Parents’ Strategies for Managing Compulsory Vaccination
Laws,” Sociological Perspectives 61, no. 2 (Jan. 30, 2018): 222–39, https://doi.org/10.1177/0731121418755113.



Expert Report of Renée DiResta – Page 10
                                                                                                   Exhibit R Page 11
Case 2:22-cv-00319-TOR                  ECF No. 89-19     filed 09/23/24                  PageID.1417           Page
                                                 12 of 29


online advocacy organizations teaching people how to get religious exemptions, providing

downloadable letter templates and detailed instructions for what to say in letters or interviews.28

       17.        Prior to 2021, much of the research into exemptions and religious objections to

vaccination and exemptions focused on childhood vaccines and influenza vaccines. As governments

implemented COVID-19 vaccine requirements, and as some afforded religious exemptions, recent

studies and commentary have sought to understand the dynamics of COVID-19 religious objections

specifically.29 Established religious concerns related to aborted fetal cells may apply in the case of the

Johnson & Johnson vaccine, which used historic fetal cell lines when developing and producing their

vaccine, though such concerns are a degree removed where the mRNA vaccines are concerned;

although Pfizer and Moderna do not use fetal cells for production or manufacturing, they were used

early in development to test effectiveness.30 In light of this, one scholar points out, “Many Christians

objecting to COVID vaccines do so on scientific grounds, such as the experimental nature of the

vaccines, and their alleged deleterious side-effects, or on cultural grounds such as the increasing power

of governments or the duplicity of government officials and scientists. The theological grounds tend

to be far less prominent, except for their postulated link to past abortions. Other issues can only be

described as ephemeral, such as the claim that God will protect us from viruses, and that our bodies

should not be modified by vaccines.”31


         28 Dan Goldberg, “Push to broaden religious exemption gains momentum,” Politico, May 30, 2018,
https://www.politico.com/states/new-york/albany/story/2018/05/30/push-to-broaden-religious-exemption-gains-
momentum-438629; Mark Weiner, “NY Vaccine Debate: Protect Religious Beliefs of Students
or            Health           of           Classmates?,” Syracuse,         June             13,           2018,
https://www.syracuse.com/politics/2018/06/ny_vaccine_debate_protect_religious_beliefs_of_students_or_health_of_
classmates.html.
        29 Andrew Flescher, “How Well Do Religious Exemptions Apply to Mandates for COVID-19
Vaccines?,” Religions 14, no. 5 (Apr. 24, 2023): 569, https://doi.org/10.3390/rel14050569.
        30 UCLA Health, “COVID-19 Vaccine: Addressing Concerns,” https://www.uclahealth.org/treatment-
options/covid-19-info/covid-19-vaccine-addressing-concerns; Michigan Department of Health & Human Service,
“COVID-19 Vaccines & Fetal Cells,” updated May 1, 2023, https://www.michigan.gov/-
/media/Project/Websites/coronavirus/Folder17/COVID-19_Vaccines_and_Fetal_Cells_031921.pdf.
       31 D. Gareth Jones, “Religious Concerns About COVID-19 Vaccines: From Abortion to Religious
Freedom,” Journal of Religion and Health 61, no. 3 (Apr. 11, 2022): 2233–52, https://doi.org/10.1007/s10943-022-01557-x.




Expert Report of Renée DiResta – Page 11
                                                                                                 Exhibit R Page 12
Case 2:22-cv-00319-TOR                   ECF No. 89-19     filed 09/23/24                  PageID.1418            Page
                                                  13 of 29


       18.        As with school vaccines, however, an online ecosystem offering guidance, templates,

and arguments for the concerned or fearful to use to frame their requests for a religious exemption

emerged specific to COVID-19 vaccination. Facebook groups formed to connect around how best to

secure one.32 Telegram, a low-moderation social media platform popular with anti-vaccine activists,

became a go-to source to find communities offering guidance, templates, and tricks. Media coverage

has documented the world of for-profit and on-demand religious vaccine exemptions.33 Social media

had long been a source of information and community for the vaccine hesitant, and a gathering place

for anti-vaccine activists to connect with those seeking information, and it – not churches, synagogues,

mosques, or other religious institutions – became the central location for information exchange on

this topic as well.34

       ANTI-VACCINE CONSPIRACY THEORIES IN THE INFORMATION AGE

       19.        The prevalence and spread of vaccine resistance and hesitancy narratives is shaped by

the information and communication environment. In the early 2000s, for example, much of the public

conversation about vaccines focused on one key paper, published in The Lancet in 1998 by

gastroenterologist Andrew Wakefield, which suggested that the MMR (measles mumps rubella)

vaccine caused childhood autism.35 The paper received significant broadcast media coverage and

generated significant concern about the measles vaccine. By 2004, however, the editor of the Lancet


          32 Kiera Butler, “Inside the Private Facebook Groups Where Anti-vaxxers Plot to Get Religious Exemptions,”
Mother Jones, September 24, 2021, https://www.motherjones.com/politics/2021/09/inside-the-private-facebook-groups-
where-anti-vaxxers-plot-to-get-religious-exemptions/.
         33 Mary Harris, “The For-Profit World of Religious Vaccine Exemptions,” Slate Magazine, September 20,
2021, https://slate.com/human-interest/2021/09/religious-covid-vaccine-exemption-letters-for-sale-profit.html; Tess
Owen, “Proud Boy Rabbi Promises Religious Exemptions for COVID Vaccine,” Vice, October 8,2021,
https://www.vice.com/en/article/z3xje9/proud-boy-rabbi-promises-religious-exemptions-for-covid-vaccine.
         34 Dorit Rubinstein Reiss, “Religious Exemptions to Vaccines and the Anti-Vax Movement,” Bill of Health - Petrie-
Flom           Center           at            Harvard          Law            School (blog),       July               16,
2021, https://blog.petrieflom.law.harvard.edu/2021/07/16/religious-exemptions-to-vaccines-and-the-anti-vax-
movement.
         35 Children’s Hospital of Philadelphia, “Vaccines and Autism,” last reviewed by Lori Handy, MD, MSCE, on
February      5,     2024,      https://www.chop.edu/centers-programs/vaccine-education-center/vaccines-and-other-
conditions/vaccines-autism.




Expert Report of Renée DiResta – Page 12
                                                                                                   Exhibit R Page 13
Case 2:22-cv-00319-TOR                   ECF No. 89-19     filed 09/23/24                 PageID.1419            Page
                                                  14 of 29


suggested it should not have been published.36 In 2010 the paper was formally retracted by the journal

and, following an investigation by the U.K. General Medicine Council, Wakefield’s medical license

was revoked.37 Coverage of the anti-vaccine movement’s claims about a purported link between

vaccines and autism subsequently declined significantly on mainstream broadcast and print media.38

       20.        Around this time, social media companies were becoming increasingly popular. As

coverage of misleading claims about vaccines declined in broadcast media and journalism coverage,

some of the most prominent anti-vaccine activist organizations joined Facebook, which enabled users

to post publicly and grow audiences directly. The National Vaccine Information Center, for example,

an early anti-vaccine activist organization dedicated to, among other things, advocacy opposing school

vaccination requirements, created a Facebook page in 2009.39

       21.        Although the narrative themes themselves are largely unchanged since the late-1800s,

the mechanics of social media provided unique opportunities for the anti-vaccine movement to recruit

new adherents and reach new audiences, including by running ads, forming groups, and establishing

dedicated channels, accounts, and pages. The expansion of the digital information ecosystem, which

includes self-published blogs and websites, as well as the rise of large social media platforms,

transformed the conversation around vaccines.40




         36 Richard Horton, “A statement by the editors of The Lancet,” The Lancet, Mar. 6, 2004,
https://www.thelancet.com/journals/lancet/article/PIIS0140673604156997/fulltext.
         37 General Medical Council, Preliminary Proceedings Committee and Professional Conduct Committee
(Procedure), “Dr. Andrew Jeremy Wakefield: Determination of Serious Professional Misconduct (SPM) and Sanction”
(May 24, 2010), http://www.circare.org/autism/Wakefield_SPM_and_SANCTION_32595267.pdf.
         38 Graham Dixon and Cristopher Clarke, “The Effect of Falsely Balanced Reporting of the Autism-vaccine
Controversy on Vaccine Safety Perceptions and Behavioral Intentions,” Health Education Research 28, no. 2 (Nov.27, 2012):
352–59, https://doi.org/10.1093/her/cys110.
         39 Renée DiResta, “On Virality: How the anti-vaccine movement influences public discourse through online
activism,” Governing Health Futures, July 15, 2020, https://www.governinghealthfutures2030.org/wp-
content/uploads/2021/10/072020_Renee-DiResta_On-virality-How-the-antivaccine-movement-influences-public-
discourse-through-online-activism.pdf.
         40 Anna Kata, “A Postmodern Pandora’s Box: Anti-vaccination Misinformation on the Internet,” Vaccine 28, no.
7 (Feb. 17, 2010): 1709-16, https://doi.org/10.1016/j.vaccine.2009.12.022.



Expert Report of Renée DiResta – Page 13
                                                                                                  Exhibit R Page 14
Case 2:22-cv-00319-TOR                  ECF No. 89-19     filed 09/23/24               PageID.1420           Page
                                                 15 of 29


       22.        Changes in how people receive science and health information have inadvertently

bolstered vaccination hesitancy. With local and regional newspapers disappearing, more people rely

on internet sites of varying quality and intent. While media coverage once offered a largely unified

view of health facts, the internet fragments information.41 It also enables borderless and persistent

communities of people who share information amongst themselves, often oriented around a common

topic of interest, leading to the formation of strong trusted bonds.42 Beyond being personalized and

algorithmically mediated, social media is also highly participatory; users can post, share, and amplify

individual pieces of content.

       23.        The fragmentation in the information environment is compounded by shifts in who,

or what, people trust.43 A widely-cited 2012 paper by Dr. Anna Kata described, “[A] new postmodern

paradigm of healthcare has emerged, where power has shifted from doctors to patients, the legitimacy

of science is questioned, and expertise is redefined. Together this has created an environment where

anti-vaccine activists are able to effectively spread their messages. Evidence shows that individuals

turn to the Internet for vaccination advice and suggests such sources can impact vaccination decisions

— therefore it is likely that anti-vaccine websites and content can influence whether people vaccinate

themselves or their children.”44

       24.        People form opinions through repeated contacts and engagement with trusted sources.

Simply encountering a piece of anti-vaccine propaganda doesn’t change a person’s beliefs. Instead,



         41 Renée DiResta and Claire Wardle, “Online Misinformation About Vaccines,” background paper within The
Sabin-Aspen Vaccine Science & Policy Group, “Meeting The Challenge of Vaccination Hesitancy” (Apr. 2022), 137-170,
https://www.sabin.org/app/uploads/2022/04/Sabin-Aspen-report-2020_Meeting-the-Challenge-of-Vaccine-
Hesitancy.pdf.
         42 Anna Kata, “A Postmodern Pandora’s Box: Anti-vaccination Misinformation on the Internet,” Vaccine 28, no.
7 (Feb. 17, 2010): 1709-16, https://doi.org/10.1016/j.vaccine.2009.12.022.
        43 Ed Pertwee, Clarissa Simas, and Heidi J. Larson, “An Epidemic of Uncertainty: Rumors, Conspiracy Theories
and Vaccine Hesitancy,” Nature Medicine 28, no. 3 (Mar. 2022): 456–59, https://doi.org/10.1038/s41591-022-01728-z.
          44 Anna Kata, “Anti-vaccine Activists, Web 2.0, and the Postmodern Paradigm – an Overview of Tactics and
Tropes Used Online by the Anti-vaccination Movement,” Vaccine 30, no. 25 (May 28, 2012): 3778–
89, https://doi.org/10.1016/j.vaccine.2011.11.112.



Expert Report of Renée DiResta – Page 14
                                                                                               Exhibit R Page 15
Case 2:22-cv-00319-TOR                 ECF No. 89-19     filed 09/23/24                PageID.1421          Page
                                                16 of 29


people are persuaded over time through interactions with peers – on social media, as well as in private

group chats – who reinforce the legitimacy of a viewpoint. This social reinforcement lends credibility

to the notion that vaccines may be harmful.45 Online anti-vaccine and vaccine hesitant communities

additionally often share highly personal “lived experience” stories, which may be far more persuasive

than a message from an authority figure, or a collection of official statistics.46

       25.       The anti-vaccine movement is effective in promoting its online content. Although

many mainstream social media platforms now attempt to minimize it by instead surfacing reputable

sources in response to vaccine queries, for many years individuals seeking information about vaccines

online were likely to encounter misleading information about vaccine safety before finding reliable

sources.47 Anti-vaccine activists and influencers prioritize cross-promoting their peers to ensure that

individuals who follow one influencer or join one group are made aware of others. They leverage blogs

and micro-media properties, produce documentaries, websites, and write books, and promote these

outputs on social media as well through email lists and encouragements to their followers to forward

and share.48

                                      THE QANON MOVEMENT
       26.       In the course of my research into online narratives and vaccine-related conspiracy
theories, I have also studied the QAnon conspiracy theory. QAnon is “a cult, a popular movement, a
puzzle, a community, a way to fight back against evil, a new religion, a wedge between countless loved


         45 Damon Centola, “The Complex Contagion of Doubt in the Anti-Vaccine Movement,” background paper
within The Sabin-Aspen Vaccine Science & Policy Group, “Meeting The Challenge of Vaccination Hesitancy” (Apr. 2022),
126-136, https://www.sabin.org/app/uploads/2022/04/Sabin-Aspen-report-2020_Meeting-the-Challenge-of-Vaccine-
Hesitancy.pdf.
         46 Emily K. Brunson, “The Impact of Social Networks on Parents’ Vaccination Decisions,” PEDIATRICS 131,
no. 5 (May 2013): e1397–1404, https://doi.org/10.1542/peds.2012-2452.
          47 Damon Centola, “Influential Networks,” Nature Human Behaviour 3, no. 7 (May 20, 2019): 664–
65, https://doi.org/10.1038/s41562-019-0607-5; Sabin-Aspen Vaccine Science & Policy Group Report, “Meeting The
Challenge of Vaccination Hesitancy” (Apr. 2022), 22, https://www.sabin.org/app/uploads/2022/04/Sabin-Aspen-
report-2020_Meeting-the-Challenge-of-Vaccine-Hesitancy.pdf.
         48 Rebekah Getman, Mohammad Helmi, Hal Roberts, Alfa Yansane, David Cutler, and Brittany Seymour,
“Vaccine Hesitancy and Online Information: The Influence of Digital Networks,” Health Education & Behavior 45, no. 4
(Dec. 21, 2017): 599–606, https://doi.org/10.1177/1090198117739673.



Expert Report of Renée DiResta – Page 15
                                                                                              Exhibit R Page 16
Case 2:22-cv-00319-TOR                 ECF No. 89-19     filed 09/23/24               PageID.1422          Page
                                                17 of 29


ones, a domestic terrorism threat, and more than anything, a conspiracy theory of everything.”49 The
seed content for QAnon, cryptic posts known as “Q drops” purportedly written by a government
insider with Q-level clearance, began to appear on the internet message board 4chan beginning in
2017. The narrative contours are variable and constantly evolving, but the central idea of the
conspiracy theory alleges that “a group of Satan-worshiping elites who run a child sex ring are trying
to control our politics and media” – and that, while he was in office, former President Donald Trump
was fighting back.50
       27.       QAnon is a highly participatory way of making sense of the world. The central figure
in the name, an anonymous individual or group that signed messages as Q, was purportedly a high-
ranking government insider who released cryptic messages for followers to decode. This decoding
process was highly collaborative; online groups formed to solve the riddles and derive truths from the
texts. They became highly involved in working to connect the dots and ‘awaken’ their friends, families,
and colleagues to the revealed truth of the world.51 This collective knowledge-making activity,
described by some analysts as being similar to participating in an alternate-reality game, is one reason
why QAnon has remained so cohesive over time.52
       28.       Similarly to the anti-vaccine movement, the QAnon movement on social media
initially grew in large part through algorithmic recommendations. My own initial exposure to the
QAnon community on Facebook was in early 2018, when Facebook began to recommend Groups
focused on the then-nascent theory to a research account that I maintained specifically to study anti-
vaccine Facebook Groups and Pages. The research account had never proactively indicated interest
in QAnon, nor searched for terms related to it; the content was simply promoted to it.
       29.       For some time after it emerged, QAnon groups and content on Facebook were
recommended to followers of other conspiracy theories, including chemtrails, flat Earth, Pizzagate,


         49 Mike Rothschild, “The Storm is Upon Us: How QAnon Became a Movement, Cult, and Conspiracy Theory
of Everything,” (Melville House, 2021), p xiii.
         50 Kevin Roose, “What Is QAnon, the Viral Pro-Trump Conspiracy Theory?” The New York Times, Sept. 3, 2021,
https://www.nytimes.com/article/what-is-qanon.html.
       51 Alice E. Marwick and William Clyde Partin, “Constructing Alternative Facts: Populist Expertise and the
QAnon Conspiracy,” New Media & Society, May 1, 2022, 2535-2555, https://doi.org/10.1177/14614448221090201.
         52 Clive Thompson, “QAnon Is Like a Game—a Most Dangerous Game,” WIRED, Sept. 22,
2020, https://www.wired.com/story/qanon-most-dangerous-multiplatform-game/.



Expert Report of Renée DiResta – Page 16
                                                                                             Exhibit R Page 17
Case 2:22-cv-00319-TOR                  ECF No. 89-19     filed 09/23/24                 PageID.1423           Page
                                                 18 of 29


9/11 “truth”, and others.53 Many of these conspiracy theories are oriented around a high degree
of distrust in government or a belief that the government is actively lying to the public. The result of
this algorithmic promotion was an omniconspiracy theory that incorporated villains, tropes,
and worldviews from the others, leading to a highly activist community dynamic akin to a “big
tent welcoming to all those who question authority, distrust the media, and do their own
research.” 54 QAnon has attracted adherents from many other conspiratorial communities,
absorbing their concerns and theories into its lore. It is often described as cult-like, because
many of its members come to actively reject “outside” information as untrustworthy, and may
cease to engage with family members and friends who are not believers.55
       30.        On October 6, 2020, out of increased concern about violence tied to militarized social
movements, Facebook banned QAnon content on the platform under its Dangerous Individuals and
Organizations policy.56 It was not the first to do so; Reddit, an early central gathering place where
adherents discussed Q-drops, had banned QAnon in September of 2018.57 Twitter acted against the
conspiracy community presence on its platform in January 2021, banning 70,000 QAnon accounts
and limiting the recommendation of 150,000 more following the January 6 attack on the United States
Capitol.58 However, many of these accounts would be restored beginning in December 2022 after the
platform changed hands following its purchase by Elon Musk.59




         53 Brandy Zadrozny, “‘Carol’s Journey’: What Facebook knew about how it radicalized users,” NBC News, Oct.
22, 2021, https://www.nbcnews.com/tech/tech-news/facebook-knew-radicalized-users-rcna3581.
         54 Mike Rothschild, “The Storm is Upon Us: How QAnon Became a Movement, Cult, and Conspiracy Theory
of Everything,” (Melville House, 2021), p xvi.
         55 Renée DiResta, “From QAnon to Pizzagate, When Online Conspiracies Form Cults,” WIRED, Nov. 13,
2018, https://www.wired.com/story/online-conspiracy-groups-qanon-cults/.
         56 Meta, “An Update to How We Address Movements and Organizations Tied to Violence,” Aug. 19, 2020,
updated on Oct. 17, 2022, https://about.fb.com/news/2020/08/addressing-movements-and-organizations-tied-to-
violence/.
         57 Brandy Zadrozny and Ben Collins, “Reddit Bans Qanon subreddits after months of violent threats,” NBC
News, Sept. 12, 2018, https://www.nbcnews.com/tech/tech-news/reddit-bans-qanon-subreddits-after-months-violent-
threats-n909061.
          58 Ben Collins and Brandy Zadrozny, “Twitter Bans 7000 QAnon accounts, limits 150,000 others as part of broad
crackdown,” NBC News, July 21, 2020, https://www.nbcnews.com/tech/tech-news/twitter-bans-7-000-qanon-accounts-
limits-150-000-others-n1234541.
        59 Stuart A. Thompson, “Musk Lifted Bans for Thousands on Twitter. Here’s What They’re Tweeting.”, The New
York Times, Dec. 22, 2022, https://www.nytimes.com/2022/12/22/technology/musk-twitter-bans.html.



Expert Report of Renée DiResta – Page 17
                                                                                                Exhibit R Page 18
Case 2:22-cv-00319-TOR                ECF No. 89-19     filed 09/23/24              PageID.1424          Page
                                               19 of 29


       31.         Although QAnon communities were de-platformed from major social media
companies, they established themselves and thrived on message boards and chat services, as well as
on low-moderation platforms such as Telegram, Truth Social, Parler, and Gab. Telegram in particular
became a central hub.60
       32.         Telegram is a social media platform that offers broadcast channels, comment capability
on broadcast posts, and also encrypted chat. Telegram emerged as a prime broadcast tool for QAnon
influencers who’d had large followings on other social media platforms. A July 2021 analysis noted
the presence of “more than 3,500 Telegram groups and channels that refer directly to QAnon and a
further 10,000+ groups and channels linked to these.”61 Some of these channels have hundreds of
thousands of followers; while influencers themselves may primarily broadcast, participation takes place
in the comments and in amplification and shares by rank-and-file followers.
               ANTI-VACCINE MOVEMENT AND THE COVID-19 VACCINES

       33.         The anti-vaccine movement was quick to react to news of the burgeoning outbreak of
COVID-19 in China. As early as January 2020, anti-vaccine activists perceived the growing crisis as
an opportunity to undermine confidence in vaccination writ large.62 A vaccine would emerge, they
assumed, and they could take advantage of its “rushed” nature to frame vaccines as dangerous.63
       34.         Pre-vaccine pandemic mitigation efforts included lockdowns, masks, and school and
business closures. This led to significant anger from some communities, inspiring early anti-mask and
anti-lockdown protests. While anger was also prevalent outside conspiratorial communities, QAnon
adherents were often highly visible participants in these early efforts; many did not believe that the
pandemic or the disease was real, some acknowledged that it was real but insisted that it was planned
by government authorities or other powerful institutions (a “plandemic”), and some processed the
lockdown measures as the arrival of coordinated global tyranny. Early conspiracy theories about


         60 Jordan Wildon and Marc-André Argentino, “QAnon is not Dead: New Research into Telegram Shows the
Movement is Alive and Well,” Global Network on Extremism & Technology (blog), July 28, 2021, https://gnet-
research.org/2021/07/28/qanon-is-not-dead-new-research-into-telegram-shows-the-movement-is-alive-and-well/.
        61 Ibid.

         62   Renée DiResta, “Anti-vaxxers Think This Is Their Moment,” The Atlantic, Dec. 20,
2020, https://www.theatlantic.com/ideas/archive/2020/12/campaign-against-vaccines-already-under-way/617443/.
         63 Tara Haelle, “This Is the Moment the Anti-Vaccine Movement Has Been Waiting For,” The New York Times,
Aug. 31, 2021, https://www.nytimes.com/2021/08/31/opinion/anti-vaccine-movement.html.



Expert Report of Renée DiResta – Page 18
                                                                                           Exhibit R Page 19
Case 2:22-cv-00319-TOR                 ECF No. 89-19     filed 09/23/24                  PageID.1425           Page
                                                20 of 29


COVID-19 within QAnon communities “connected the dots” to other QAnon lore; masks on
children, for example, might be something that the purported pedophilic-elite network was using to
conceal trafficking.64
       35.          As vaccinations rolled out in the U.S. in late 2020, longstanding anti-vaccine activists
became increasingly focused on undermining their uptake. Once again, the narratives largely fit within
the same well-established themes, with slight inflections for the specifics of the pandemic.65 For
example, safety concerns about the COVID-19 vaccine took the form of misuse and misreading of
statistics. Efficacy debates roiled with each emerging variant and booster. Liberty narratives focused
not only on vaccine passports and mandates, but on masking and lockdown measures. “‘They’ are
lying to you”, or “‘They’ are out to harm you” became all-encompassing conspiracy theories applied
to nearly every facet of the vaccine rollout.66 And, because the pandemic was a novel pathogen, and
experts did get things wrong, there was a systematic effort to undermine even the idea of expertise.67
       36.          QAnon groups were also concerned about the vaccine, particularly following the
departure of President Trump from office in January 2021. Narratives included that the vaccines were
bioweapons, pushed by a cabal of corrupt government officials and pharmaceutical companies; the
vaccines were “gene therapy” and would alter DNA; people who received them would die or be
seriously injured; the vaccine was the “Mark of the Beast” in the Book of Revelation.68 And all of this,
narratives repeatedly emphasized, was not accidental – the purported goal was depopulation, and
social control.69




         64 Marianna Spring and Mike Wendling, “How Covid-19 Myths Are Merging With the QAnon Conspiracy
Theory,” BBC, Sept. 2, 2020, https://www.bbc.com/news/blogs-trending-53997203.
          65 Tara C. Smith and Dorit Rubinstein Reiss, “Digging the Rabbit Hole, COVID-19 Edition: Anti-vaccine
Themes and the Discourse Around COVID-19,” Microbes and Infection 22, no. 10 (Nov. 2020): 608–
10, https://doi.org/10.1016/j.micinf.2020.11.001.
         66 The Virality Project, “Memes, Magnets, and Microchips: Narrative dynamics around COVID_19 vaccines,”
Feb. 2022, Section 3, https://doi.org/10.25740/mx395xj8490.
        67 Renée DiResta, “Invisible Rulers: The People Who Turn Lies Into Reality,” (Public Affairs, 2024), Chapter 7.

         68 The Virality Project, “Memes, Magnets, and Microchips: Narrative dynamics around COVID_19 vaccines,”
Feb. 2022, 58-59, https://doi.org/10.25740/mx395xj8490.
         69 Craig Timberg and Elizabeth Dwoskin, “With Trump gone, QAnon groups focus fury on attacking coronavirus
vaccines,” Washington Post, Mar. 11, 2021, https://www.washingtonpost.com/technology/2021/03/11/with-trump-gone-
qanon-groups-focus-fury-attacking-covid-vaccines/.



Expert Report of Renée DiResta – Page 19
                                                                                                Exhibit R Page 20
Case 2:22-cv-00319-TOR                   ECF No. 89-19     filed 09/23/24                  PageID.1426            Page
                                                  21 of 29


       37.        The World Health Organization used the term “infodemic” to refer to the chaotic
information environment during COVID-19.70 It was very difficult to know what was true about the
novel disease and the new vaccines, and people turned to social media to try to make sense of the
world. Unverified stories of side effects were perhaps the most prominent theme; they went viral
frequently as the combination of uncertainty and impact made the topic highly engaging.71 In many
cases, stories about distribution protocols, policies, and side effects related to the vaccine were spun
into conspiracy theories attributing specific malintent to shadowy figures in government or within
pharmaceutical companies; these proliferated on social media during the pandemic and generated
significant engagement.72
       38.        Much of the unreliable information and rumors about COVID-19 vaccines on social
media were significantly boosted via amplification from influencers. Some of these were the long-time
anti-vaccine activists such as Robert F. Kennedy Jr. and his Children’s Health Defense
organization.73 Others were primarily known from their content in the wellness, politics, and
parenting spheres,though they became significant spreaders of vaccine claims as the vaccine
rollout occurred.74 While some influencers were ideologically motivated, many profited by
selling anti-vaccine books and products, monetizing websites with ads, and creating affiliate links
to anti-vaccine groups; some even founded a medical freedom-focused super PAC.75 On social
media, fear, uncertainty, sensationalism,




       70 World Health Organization, “Let’s Flatten The Infodemic Curve,” https://www.who.int/news-
room/spotlight/let-s-flatten-the-infodemic-curve.
          71 Cindy Sing Bik Ngai, Rita Gill Singh, and Le Yao, “Impact of COVID-19 Vaccine Misinformation on Social
Media Virality: Content Analysis of Message Themes and Writing Strategies,” Journal of Medical Internet Research 24, no. 7
(July 6, 2022): e37806, https://doi.org/10.2196/37806.
         72 The Virality Project, “Memes, Magnets, and Microchips: Narrative dynamics around COVID_19 vaccines,”
Feb. 2022, 31-40, https://doi.org/10.25740/mx395xj8490.
         73 Michelle R. Smith, “How a Kennedy Built an Anti-vaccine Juggernaut Amid COVID-19,” AP News, Dec. 15,
2021, https://apnews.com/article/how-rfk-jr-built-anti-vaccine-juggernaut-amid-covid-
4997be1bcf591fe8b7f1f90d16c9321e.
         74 Ashley Fetters Maloy and Gerrit De Vynck, “How wellness influencers are fueling the anti-vaccine movement,”
Washington Post, Sept. 12, 2021, https://www.washingtonpost.com/technology/2021/09/12/wellness-influencers-
vaccine-misinformation/.
         75 Richard M. Carpiano, Timothy Callaghan, Renée DiResta, Noel T. Brewer, Chelsea Clinton, Alison P. Galvani,
et al., “Confronting the Evolution and Expansion of Anti-vaccine Activism in the USA in the COVID-19 Era,” The
Lancet 401, no. 10380 (Mar. 1, 2023): 967–70, https://doi.org/10.1016/s0140-6736(23)00136-8.



Expert Report of Renée DiResta – Page 20
                                                                                                   Exhibit R Page 21
Case 2:22-cv-00319-TOR                    ECF No. 89-19     filed 09/23/24                   PageID.1427              Page
                                                   22 of 29


and outrage are often used to attract attention and monetize followings, and the topic of COVID-19
and vaccines afforded significant opportunity to capture attention.76
       39.         Vaccine-skeptical and anti-vaccine physicians have long been part of the anti-vaccine
thought influencer sphere, as described by epidemiologist Tara Smith in 2017.77 These figures became
quite prominent in the COVID-19 vaccine discourse, because their medical credentials make them
appear to be reliable figures.78 Some have medical credentials in disciplines unrelated to the areas that
they expressed strong opinions about, though the reader may be unaware or not look more deeply
after seeing the word “Dr.” in the byline or comment. As with other influencers, many grew large
followings; Dr. Robert Malone and Dr. Peter McCullough became frequent guests on vaccine-
skeptical, anti-vaccine, and highly conspiratorial podcasts.79 Some of these doctor-influencers also
similarly monetized those followings on social media and e-mail newsletter platforms such as
Substack.80 The content of these perceived experts was widely shared and received significant
engagement on platforms such as Twitter/X.81
       40.         The Terms of Service on social media platforms govern what is acceptable to post,

and therefore what is available for sharing. Since 2019, social media platforms have implemented

policies to combat misinformation about vaccines on the grounds that false claims about vaccines can

cause harm.82 During COVID-19, platforms including Facebook, Twitter, and YouTube rapidly


          76 Rachel E. Moran, Anna L. Swan, and Taylor Agajanian, “Vaccine Misinformation for Profit: Conspiratorial
Wellness Influencers and the Monetization of Alternative Health.,” International Journal of Communication 18 (2024),
https://ijoc.org/index.php/ijoc/article/view/21128/4494.
          77 Tara C. Smith, “Vaccine Rejection and Hesitancy: A Review and Call to Action,” Open Forum Infectious Diseases 4,
no. 3 (Jan. 2017), https://doi.org/10.1093/ofid/ofx146.
         78 Sahana Sule, Marisa C. DaCosta, Erin DeCou, Charlotte Gilson, Kate Wallace, and Sarah L. Goff,
“Communication of COVID-19 Misinformation on Social Media by Physicians in the US,” JAMA Network Open 6, no. 8
(Aug. 15, 2023): e2328928, https://doi.org/10.1001/jamanetworkopen.2023.28928.
         79 The Virality Project, “Memes, Magnets, and Microchips: Narrative dynamics around COVID_19 vaccines,”
Feb. 2022, 79-82, https://doi.org/10.25740/mx395xj8490.
         80 Kristina Fiore, “Anti-Vax Newsletters Pull in $2.5M on Substack,” MedPage Today, Feb. 1,
2022, https://www.medpagetoday.com/special-reports/exclusives/96955.
         81 Mallory J. Harris, Ryan Murtfeldt, Shufan Wang, Erin A. Mordecai, and Jevin D. West, “The Role and Influence

of Perceived Experts in an Anti-vaccine                   Misinformation      Community,” medRxiv,       July   13,    2023,
https://doi.org/10.1101/2023.07.12.23292568.
         82 Renée DiResta, “On Virality: How the anti-vaccine movement influences public discourse through online
activism,” Governing Health Futures, July 15, 2020, https://www.governinghealthfutures2030.org/wp-
content/uploads/2021/10/072020_Renee-DiResta_On-virality-How-the-antivaccine-movement-influences-public-
discourse-through-online-activism.pdf.



Expert Report of Renée DiResta – Page 21
                                                                                                     Exhibit R Page 22
Case 2:22-cv-00319-TOR                ECF No. 89-19     filed 09/23/24              PageID.1428         Page
                                               23 of 29


adapted existing health misinformation policies in an attempt to ensure that the information

environment they were responsible for did not amplify false and misleading information.83 Platforms

like Facebook, Twitter, and YouTube introduced measures to reduce the spread of COVID-19

vaccine misinformation that included taking down misinformation content, labeling misleading posts,

reducing misleading post prevalence in user feeds, and providing users with authoritative information

from health organizations like the World Health Organization (WHO) and the Centers for Disease

Control and Prevention (CDC).84

       41.       Mainstream social media platforms aggressively moderated false and misleading

COVID-19 vaccine-related content as well as rumors throughout 2020-2022. However, many smaller

alt-platforms deliberately did not, out of a mix of free expression concerns, sympathy for the claims,

and a generally hands-off moderation approach writ large. These included Telegram and Gab,

YouTube competitor Rumble (a video channel platform), and the chan message boards. Influencers

and others who wanted to create, post, and discuss vaccine-related claims or conspiracy theories

banned on mainstream platforms largely established themselves there, particularly if they themselves

were banned on mainstream social media platforms as well.85

  ROLOVICH’S COMMUNICATIONS ARE CONSISTENT WITH MANY COMMON
          ANTI-VACCINE CONSPIRACY THEORIES AND QANON

       42.       As noted, I was provided hundreds of documents—primarily text messages, group
chats, and Telegram posts dated from July 2020 to August 2023—which I understand were produced
by Plaintiff Nicholas Rolovich in this litigation and reference the term “vaccine”, “vacc*”, “vax*”,




         83 The Virality Project, “Memes, Magnets, and Microchips: Narrative dynamics around COVID_19 vaccines,”
Feb. 2022, Section 5, https://doi.org/10.25740/mx395xj8490.
         84 David A. Broniatowski, Joseph R. Simons, Jiayan Gu, Amelia M. Jamison, and Lorien C. Abroms, “The
Efficacy of Facebook’s Vaccine Misinformation Policies and Architecture During the COVID-19 Pandemic,” Science
Advances 9, no. 37 (Sept. 15, 2023), https://doi.org/10.1126/sciadv.adh2132.
         85 Mark Scott, “Fringe Social Media Networks Sidestep Online Content Rules,” POLITICO, Jan. 25,
2022, https://www.politico.eu/article/fringe-social-media-telegram-extremism-far-right/.



Expert Report of Renée DiResta – Page 22
                                                                                           Exhibit R Page 23
Case 2:22-cv-00319-TOR                  ECF No. 89-19     filed 09/23/24                  PageID.1429           Page
                                                 24 of 29


“abort*”, “fetal”, and/or cells.86 Based on my knowledge, research, experience studying the narratives
and online dynamics of the anti-vaccine movement, I reviewed and analyzed the content of those
documents to determine whether they could be viewed as falling within the following vaccine rejection
and hesitancy themes, as discussed above: safety, efficacy, religiosity, liberty, distrust of industry, and
conspiracy. As I evaluated the documents, I coded them according to which vaccine hesitancy themes
were present and made notes about commentary originating from Mr. Rolovich.
       43.         In the large number of documents that I was given to analyze, there were many dozens
of communications that fall under the previously-described well-established vaccine hesitancy themes.
       44.         Based on my review of the documents, many if not most of Mr. Rolovich’s
communications appear to take issue with the vaccine based on deep-seated and sustained concerns
about vaccine safety and efficacy. These concerns are regularly expressed, and frequently within a
conspiratorial frame: for example, the vaccines are not just unsafe and going to lead to mass deaths of
the vaccinated, they are intentionally unsafe and “they” (the government, Anthony Fauci,
pharmaceutical companies) are covering it up.
       45.         Mr. Rolovich’s messages include multiple shares of video and blog content related to
adverse reactions, including statistics related to vaccine injuries and concerns about blot clots or the
rigor of vaccine trials. See Attachment B at ROLOVICH00005879, ROLOVICH00026901,
ROLOVICH00027002-03,                         ROLOVICH00076421-22,                          ROLOVICH00027163,
ROLOVICH00077005, ROLOVICH00011619, ROLOVICH00029874-77, ROLOVICH00000302.
He shares media indicating a belief that taking the vaccine is not worth the risk, id. at
ROLOVICH00005880 and ROLOVICH00031209-12, and that it will permanently alter DNA, id. at
ROLOVICH00013341-42. He additionally frequently shares material by, or featuring, credentialed
doctors      who    are    COVID-19         vaccine     skeptics.     See   id.   at   ROLOVICH00035487-89,
ROLOVICH00029961-63, ROLOVICH00011621, ROLOVICH00011592, ROLOVICH00011624,




         86 Some of the documents that I received from counsel, which I understand were produced by Mr. Rolovich,
appear to be missing messages, images, or other content. I also understand that the completeness of Mr. Rolovich’s text
message production is an issue that is currently being discussed by WSU’s counsel and Mr. Rolovich’s counsel. In the
event that any additional documents are produced by Mr. Rolovich in connection with that discussion, I reserve the right
to incorporate those materials into my analysis and amend this report.



Expert Report of Renée DiResta – Page 23
                                                                                                 Exhibit R Page 24
Case 2:22-cv-00319-TOR                  ECF No. 89-19     filed 09/23/24                PageID.1430           Page
                                                 25 of 29


ROLOVICH00032978-80, ROLOVICH00057294-96. He sends himself, and additionally forwards to
friends, articles from blogs such as Children’s Health Defense, or newsletters from vaccine skeptics.
       46.        In other communications, Mr. Rolovich and his associates make arguments about
liberty or expresses concerns about mandates, including segregation of or discrimination against the
unvaccinated, and discuss exemption concerns with others pursing them. See Attachment C at
ROLOVICH00024507,                        ROLOVICH00025013-14,                         ROLOVICH00013444-45,
ROLOVICH00025776-77, ROLOVICH00075215, ROLOVICH00016334, ROLOVICH00004963,
ROLOVICH00027278, ROLOVICH00033991-92, ROLOVICH00035888, ROLOVICH00013377-
78, ROLOVICH00005833, ROLOVICH00000806. In an early exchange 28 April 2021, Mr. Rolovich
seeks advice for what to do if the vaccine becomes mandatory at WSU. Id. at ROLOVICH00031053-
54.
       47.        Additionally, many of the text message chains, group chats, and Telegram channels in
the document set frequently incorporate both longstanding and QAnon-specific conspiracy theories
as well as theories about vaccines. Mr. Rolovich and his associates in a persistent group chat repeatedly
share material from Telegram channels and chan board posts produced by QAnon influencers or
expressing QAnon themes. See Attachment D at ROLOVICH00059276-07, ROLOVICH00031063-
133,         ROLOVICH00059631-59,                ROLOVICH00081201-46,                 ROLOVICH00031313-52,
ROLOVICH00036247-73,                      ROLOVICH00036292-314,                      ROLOVICH00031396-471,
ROLOVICH00036332-79,                      ROLOVICH00031594-646,                      ROLOVICH00036482-526,
ROLOVICH00036568-92,                      ROLOVICH00031697-761,                       ROLOVICH00031827-76,
ROLOVICH00012716-31,                      ROLOVICH00031924-71,                       ROLOVICH00012798-830,
ROLOVICH00012860-88, ROLOVICH00032190-230, ROLOVICH00026016-18. One persistent
group chat includes a significant number of posts about both supposed election fraud in 2020, some
of which cite QAnon influencer (indeed, theorized to be Q himself) Ron Watkins, as well as vaccine
safety concerns.87 Id. at ROLOVICH00036247-73, ROLOVICH00051440, ROLOVICH00059276-
97, ROLOVICH00031063-133,                  ROLOVICH00059631-59,                 ROLOVICH00059686-702,


          87 David D. Kirkpatrick, “Who Is Behind QAnon? Linguistic Detectives Find Fingerprints,” The New York Times,
Feb. 29, 2022, https://www.nytimes.com/2022/02/19/technology/qanon-messages-authors.html.



Expert Report of Renée DiResta – Page 24
                                                                                                Exhibit R Page 25
Case 2:22-cv-00319-TOR             ECF No. 89-19     filed 09/23/24          PageID.1431        Page
                                            26 of 29


ROLOVICH00031396-471,                 ROLOVICH00036332-79,                 ROLOVICH00031827-76,
ROLOVICH00031924-71, ROLOVICH00032190-230, ROLOVICH00012956-75. Based on my
knowledge and experience researching online narratives and vaccine-related conspiracy theories,
including the QAnon conspiracy theory, references to QAnon rhetoric (such as “WWG1WGA” and
“The Great Awakening”) within the chats, and the list of Telegram channels Mr. Rolovich followed
(several of which have QAnon in the name), indicates deep familiarity with QAnon. While the specifics
of Mr. Rolovich’s opinions about electoral legitimacy, pedophilic cabals, one-world government, and
other topics that appear within the messages are out of scope for this analysis, these recurring themes
suggest sustained engagement with QAnon groups, influencers, and channels, including Qtah, We the
Media, Kanekoa the Great, Praying Medic, Q Qanon, Gen Flynn, Code Monkey, Sidney Powell, Lin
Wood. See also id. at ROLOVICH00031313-52.
      48.      Given this alignment, it is unsurprising to see that many of Mr. Rolovich’s
conversations about vaccine safety, efficacy, or the intent of the manufacturers are expressed within
the framework of longstanding conspiratorial vaccine tropes or QAnon concerns. In December 2020,
long prior to the release of any vaccine, Mr. Rolovich forwarded emails speculating about whether
George Soros and Bill Gates had patents on COVID-19 cures to receptive family and friends. See
Attachment E at ROLOVICH00011866-67, ROLOVICH00034020. Allegations of deliberate malice
can be found throughout the vaccine-related messages between Rolovich and contacts, illustrating the
way in which hesitancy concerns can mutate into conspiracy theories. See id. at ROLOVICH00051440,
ROLOVICH00005884-05,                   ROLOVICH00011617,                   ROLOVICH00036247-73,
ROLOVICH00012860-88,                 ROLOVICH00012920-37,                  ROLOVICH00026372-73,
ROLOVICH00016399-400. For example, there is talk of a “criminal conspiracy of coronavirus” (id.
at ROLOVICH00010639), and a need to hang those responsible (id. at ROLOVICH00012924-25);
COVID itself is “fake” or a “plandemic” (id. at ROLOVICH00013135-36), but is also part of a
nefarious plot to ensure “depopulation by any means” (id. at ROLOVICH00012925), and a “trojan
horse for a global takeover” (id. at ROLOVICH00012703). The articles shared and liked in these
group chats attribute circumstances to shadowy nefarious actors repeatedly: “They” are deliberately
hiding cures like ivermectin (id. at ROLOVICH00012921), or “destroying women, poisoning breast



Expert Report of Renée DiResta – Page 25
                                                                                   Exhibit R Page 26
Case 2:22-cv-00319-TOR             ECF No. 89-19     filed 09/23/24          PageID.1432        Page
                                            27 of 29


milk, murdering babies, and hiding the truth” (id. at ROLOVICH00013236). Content indicating a
concern that pharmaceutical companies are profit-driven also goes one step further, implying that the
companies are part of a deliberate, malevolent effort to harm and that “they killed people for vaccine
profits” (see id. at ROLOVICH00005878), or that former Pfizer employees have confirmed there is
“poison in [the] vaccine” (see id. at ROLOVICH00012860-62) and the company is hiding the numbers
of those who died during vaccine trials (id. at ROLOVICH00013526).
      49.      Liberty concerns, too, extend beyond philosophical opposition to mandates and veer
into the conspiratorial. For example, on July 20, 2021, Rolovich shares a post noting that “In the US,
the Supreme Court has ruled that vaccinated people worldwide are products, patented goods,
according to U.S. law, no longer human….The quality of a natural person and all related rights are
lost.” Id. at ROLOVICH00031267.
      50.      In the documents that I reviewed, Mr. Rolovich does not appear to clearly articulate
any specifically religious arguments in his objections to vaccination. Based on the documents that I
reviewed, this remains true even as Mr. Rolovich begins to communicate to his associates his concerns
that he will be fired for refusing vaccination and after he applied for a religious exemption. See
Attachment F at ROLOVICH00031594-646.
      51.      Several text messages from group chats involving Mr. Rolovich and former WSU
football colleagues David Fox and Brian Stutzmann, as well as text messages with Safiya Richardson,
involved references to religion, God, prayer, and faith, suggesting that communicating about faith or
faith-based concerns would not have been anomalous or uncomfortable in those environments. See
id.    at     ROLOVICH00034916,            ROLOVICH00035844-46,             ROLOVICH00034967-68,
ROLOVICH00034994, ROLOVICH0002559-93. Nonetheless, in the conversations in which
religious discourse appears, Mr. Rolovich does not mention religious exemptions or express
religiously-rooted vaccine hesitancy beliefs. Rather, he reverts to expressing secular concerns about
vaccine safety. Id. at ROLOVICH00031594-646, ROLOVICH00031697-761, ROLOVICH00031063-
133, ROLOVICH00033117-23. For example, in a message from July 29, 2021, Mr. Fox is disparaging
an article entitled, “Stop using religion to fight COVID-19 vaccine. Taking it is the Christian thing to
do”, saying, “you knew they’d eventually come for the religious exemptions”, and posting a chan board



Expert Report of Renée DiResta – Page 26
                                                                                    Exhibit R Page 27
Case 2:22-cv-00319-TOR               ECF No. 89-19     filed 09/23/24          PageID.1433        Page
                                              28 of 29


screenshot warning that “the Chinese doctor wants all of the White Christians to take the vax of
death”. Id. at ROLOVICH0031698-700. Rolovich does not comment on the religious exemption;
rather, he later shares some memes and an interview from Steve Bannon’s War Room interview
featuring Dr. Robert Malone in which they are alleging that the virus has caused the vaccine to be
more dangerous. Id. at ROLOVICH00031730. On July 15, 2021, Mr. Fox shares content with Mr.
Rolovich and Mr. Stutzman related to vaccine ingredients, including one slide (among a half-dozen or
so) which mentions human fetal cells. Id. at ROLOVICH00031066-68. Rolovich does not reference
it.   Instead,   a   bit   further    down    the   thread,    he   responds     with    a   URL     for
“centerformedicalfreedom.com”. Id. at ROLOVICH00031113. Based on my review of the
documents, it does not appear that Mr. Rolovich ever directly identified concerns about fetal cells as
the basis of his objection to the vaccine, which was the most common religious concern for Catholics
and one of the objections that Mr. Rolovich referenced in his Second Amended Complaint.
       52.       There are additionally several text messages between Mr. Rolovich and Father Paul, a
Catholic priest at the St. Thomas More Student Center in Pullman, Washington, who served as
chaplain to the WSU football team, as well as Bishop Tom Daly. These messages do not contain any
articulation by Mr. Rolovich of religious beliefs specific to vaccination. On July 25, 2021, Mr. Rolovich
briefly asks Bishop Daly if he supports the vaccine; the Bishop affirms that he does “with
reservations”. See id. at ROLOVICH00033208. In another message, from earlier that day, Mr.
Rolovich texts Safiya Richardson to note that he “spoke with a priest” who “encouraged [him] to get
it”. See id. at ROLOVICH000033117. (Here, again, Ms. Richardson expresses sentiments about
religion and vaccines, and Mr. Rolovich turns the conversation to secular content about vaccine
safety.) Father Paul connects with Mr. Rolovich several times to inquire about his decision and to
offer him support. By August, Mr. Rolovich appears to pursue a religious exemption, sending himself
an email containing vaccine religious exemption documents from Gab News (a reference to the alt-
right social media platform). See id. at ROLOVICH00000544. However, based on the documents that
I reviewed, discussions of specific spiritual concerns about aborted fetal cells or vaccination appear to
be absent from chats with friends or religious leaders in the messages. On August 20, 2021 he receives
a religious exemption letter from Bishop Daly. See id. at ROLOVICH00001398-99.



Expert Report of Renée DiResta – Page 27
                                                                                     Exhibit R Page 28
Case 2:22-cv-00319-TOR             ECF No. 89-19     filed 09/23/24          PageID.1434        Page
                                            29 of 29


      53.      Based on the above, it is my opinion that Mr. Rolovich indeed harbored significant
reservations about being vaccinated for COVID-19, but the concerns he expressed in the private
messages that I observed between him and his close associates throughout this period fall into the
realm of safety concerns and conspiracy theories, rather than religious objections to vaccination.




Expert Report of Renée DiResta – Page 28
                                                                                   Exhibit R Page 29
